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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ROADGET BUSINESS PTE. LTD., a private limited
 company organized in the country of Singapore,

                        Plaintiff,
                                                            Case No.: 1:23-cv-17036
        v.

                                                            Judge: Hon. Sara L. Ellis
 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 A TO THE COMPLAINT,

                        Defendants.



   PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL OF DEFENDANT NO. 1
                    AND ENTRY OF FINAL JUDGMENT

       Plaintiff Roadget Business Pte. Ltd. (“Roadget”) respectfully moves to voluntarily

dismiss with prejudice the remaining Defendant in this action, Defendant 1 on Schedule A to the

Complaint (Foshanshinanhaiquwangniushanfuzhuangchang, d/b/a My little Cookie), pursuant to

Fed. R. Civ. P. 41(a)(2), and for entry of an order of final judgment pursuant to Fed. R. Civ. P.

58(d) in the form of the proposed order attached hereto as Exhibit 1. In support of its requests,

Roadget states as follows:

        1.     Roadget filed this action against the 27 Defendants listed on Schedule A to the

Complaint on December 22, 2023. Dkt. 1.

        2.     This Court dismissed all Defendants except for Defendant 1 on April 29, 2024.

Dkt. 86.

        3.     Roadget and Defendant 1 have since concluded settlement negotiations, and


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Roadget has agreed to voluntarily dismiss Defendant 1 from this action. Roadget requests

dismissal with prejudice under Fed. R. Civ. P. 41(a)(2) by court order.

        4.    Dismissal of Defendant 1 will end this action. Pursuant to Fed. R. Civ. P. 58(d), a

party may request that a judgment be set out in a separate document as required by Rule 58(a).

        5.    Accordingly, Roadget respectfully requests dismissal of the final Defendant with

prejudice and entry of an order of final judgment in the form of the proposed order attached

hereto as Exhibit 1.



Dated: June 4, 2024                             Respectfully submitted,

                                                /s/ Steven J. Horowitz
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